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                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                  NEWARK DIVISION


  IN RE: PROTON-PUMP INHIBITOR                              2:17-md-2789 (CCC)(MF)
  PRODUCTS LIABILITY LITIGATION                                   (MDL 2789)
  (NO. II)

  This Document Relates to: ALL ACTIONS                     DECEMBER 17, 2019
                                                          STATUS CONFERENCE
                                                        JOINT STATUS REPORT AND
                                                           PROPOSED AGENDA




        The parties hereby submit their Joint Status Report and Proposed Agenda in advance of the

 December 17, 2019 Status Conference.

   I.   STATUS REPORT

        At the time of this filing, approximately 13,373 potentially related actions with 13,404

 plaintiffs are pending in MDL 2789.

        Currently, approximately 113 state court actions/plaintiffs are pending in the Delaware

 Superior Court, New Castle County, before Judge Eric M. Davis, 69 state court actions/plaintiffs

 are pending in the Circuit Court of Cook County, Illinois before Judge Brendan A. O’ Brien, 47

 state court actions/plaintiffs are pending in a multicounty litigation ("MCL") in New Jersey state

 court in Atlantic County before Judge John C. Porto, 1 action/plaintiff is pending in New York

 Supreme Court in New York County, and 23 actions/plaintiffs are pending in the Court of

 Common Pleas, Hamilton County, Ohio before Judge Sylvia Hendon.


  II.   PROPOSED AGENDA FOR DECEMBER 17, 2019 STATUS CONFERENCE

        The Parties have met and conferred and propose the following Agenda:

            •   Bellwether Trial Scheduling Order;

            •   Update on Eligible Case List;
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                       Finalization of List;

                       Medical Record Sharing CMO;

            •   Resolution of the parties’ competing Proposed Orders to Show Cause for the
                following Plaintiffs in Alleged Violation of the Tolling Agreement and Subject to
                Defendants' Tolling Motions to Dismiss (Dkt Nos. 489 – 492, 494 – 495 and 500)

                       the 609 Plaintiffs; and

                       The 4,956 Plaintiffs;

            •   Status Update on Clean-Up CMO for "Stage 2" cases without proof of use;

            •   Update on Discovery;

                       Status of Depositions;

                       Status of Document Productions; and

            •   PSC’s Forthcoming Request to Add Additional PSC Members.


  III.   TELEPHONIC MONITORING OF THE CASE MANAGEMENT CONFERENCE

 As instructed by the Court, counsel has arranged for a telephonic conference line so interested
 attorneys can monitor the proceedings. Dial-in information is as follows:

 Dial In: (888) 808-6929
 Access Code: 9945288#

 Note that the status conference is scheduled to begin at 1:00 p.m. eastern.

 Dated: December 13, 2019




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